UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                     )
    In re:                           )     Chapter 11
                                     )
    CELSIUS NETWORK LLC, et al., 1   )     Case No. 22-10964 (MG)
                                     )
    Debtors.                         )     (Jointly Administered)
                                     )
                         ORDER SETTING SCHEDULE
                 REGARDING (I) ESTIMATION OF CERTAIN
     INTERCOMPANY CONTRACT CLAIMS BETWEEN CELSIUS NETWORK
           LLC AND CELSIUS NETWORK LIMITED, (II) SUBSTANTIVE
    CONSOLIDATION OF CELSIUS NETWORK LLC AND CELSIUS NETWORK
     LIMITED, AND (III) CONSTRUCTIVE FRAUDULENT TRANSFER CLAIM

             Upon the motion [Dkt. No. 2369] (the “Motion”)2 of the Committee for entry of an

order (this “Order”) establishing procedures to estimate the Intercompany Claim that

Celsius Network LLC (“LLC”) has against Celsius Network Limited (“CNL”) for

allowance purposes, all as more fully set forth in the Motion; and upon the Notice of

Revised Proposed Order in Connection with the Motion of the Official Committee of

Unsecured Creditors for Entry of an Order (I) Establishing Procedures to Estimate the

Intercompany Claim that Celsius Network, LLC has Against Celsius Network Limited and

(II) Granting Related Relief [Dkt. No. 2477] (the “Notice”); and the Court having

determined that it is appropriate to set a schedule with respect to (a) the estimation of the

Intercompany Claim by LLC against CNL for allowance purpose, (b) the substantive

consolidation of LLC and CNL, and (c) a constructive fraudulent transfer claim that may


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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are as follows: Celsius Network LLC (2148); Celsius KeyFi LLC (4414);
Celsius Lending LLC (8417); Celsius Mining LLC (1387); Celsius Network Inc. (1219); Celsius
Network Limited (8554); Celsius Networks Lending LLC (3390); Celsius US Holding LLC (7956);
GK8 USA LLC (9450); GK8 Ltd. (1209); and GK8 UK Limited (0893). The location of Debtor
Celsius Network LLC’s principal place of business and the Debtors’ service address in these
chapter 11 cases is 50 Harrison Street, Suite 209F, Hoboken, New Jersey 07030.
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    Capitalized terms used but not defined herein have the meanings given to them in the Motion.
be brought on behalf of LLC’s estate against CNL; and this Court having jurisdiction over

this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of

Reference from the United States District Court for the Southern District of New York,

entered February 1, 2012; and this Court having found that it may enter a final order

consistent with Article III of the United States Constitution; and this Court having found

that venue in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court

having found that the relief requested in the Motion is in the best interests of the Debtors’

estates, their creditors, and other parties in interest; and this Court having found that the

notice of the Motion and opportunity for a hearing on the Motion were appropriate under

the circumstances and that no other notice need be provided; and this Court having

reviewed the Motion and having heard the statements in support of the relief requested

therein at a hearing before this Court; and this Court having determined that the legal and

factual bases set forth in the Motion establish just cause for the relief granted herein; and

upon all of the proceedings had before this Court; and after due deliberation and sufficient

cause appearing therefor, it is hereby ORDERED THAT:

       1.      The Motion is granted as set forth in this Order.

       2.      Pursuant to Bankruptcy Code section 502(c), procedures shall be

established to estimate the Intercompany Claim that LLC has against CNL for allowance

purposes.

       3.      Litigation regarding (a) estimation of the intercompany contract claims

between LLC and CNL in connection with the migration, (b) substantive consolidation of

LLC and CNL, and (c) the constructive fraudulent transfer claim in connection with the

migration by LLC against CNL shall follow the below schedule:




                                                 2
                               Task                                          Deadline

 Deadline for (i) Debtors and/or Committee to file motion for          Monday, May 1, 2023
 substantive consolidation and (ii) Committee to file adversary
 complaint asserting constructive fraudulent transfer claim

 Deadline for parties to serve written discovery (limited to a           Thursday, May 4,
 total of 12 interrogatories per party)                                       2023

 Deadline for responses to written discovery                           Monday, May 8, 2023

 Deadline for substantial completion of document production            Wednesday, May 31,
                                                                             2023
 Deadline to complete fact depositions                                  Thursday, June 15,
                                                                              2023
 Deadline for expert reports                                           Friday, June 16, 2023

 Deadline for expert rebuttal reports                                  Friday, June 23, 2023

 Deadline to complete expert depositions                               Friday, June 30, 2023

 Deadline for parties to file opening briefs (opening briefs to be     Friday, June 30, 2023
 limited to 40 pages)

 Deadline for parties to file response briefs (response briefs to        Monday, July 10,
 be limited to 25 pages)                                                     2023

 Deadline to exchange witness and exhibit lists                        Wednesday, July 12,
                                                                             2023
 Deadline for objections to witness and exhibit lists                  Friday, July 14, 2023

 Trial on (i) estimation, (ii) constructive fraudulent transfer, and    Trial dates reserved
 (iii) substantive consolidation                                        the week of July 24,
                                                                                2023

       4.      The above schedule may be modified by further order of the Court

(including to the extent the Court approves of any alterations to the schedule that are agreed

to by the Debtors, the Committee, and the Series B Holders).

       5.      To the extent the Court conducts a hearing on the matters set forth in the

above schedule, such hearing shall occur at or before any hearing in connection with

confirmation of a proposed chapter 11 plan for the Debtors.


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       6.      Nothing in this Order shall preclude the Debtors or the Committee from

seeking any other relief or asserting any other claim or cause of action.

       7.      The Debtors and the Committee are authorized to take all actions necessary

to effectuate the relief granted pursuant to this Order in accordance with the Motion.

       8.      This Court shall retain jurisdiction to hear and determine all matters arising

from the implementation of this Order.

IT IS SO ORDERED.
Dated: April 24, 2023
       New York, New York

                                              _____/s/ Martin Glenn_______
                                                     MARTIN GLENN
                                              Chief United States Bankruptcy Judge




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